        Case 21-70009 Document 49 Filed in TXSB on 02/23/21 Page 1 of 58




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              MCALLEN DIVISION

In re                                        §      Case No. 21-70009
                                             §
JOSIAH’S TRUCKING LLC                        §      (Involuntary Proceeding)
                                             §
        Alleged Debtor.                      §

              PETITIONING CREDITORS’ WITNESS AND EXHIBIT LIST

 Main Case No: 21-70009                    Name of Debtor: Josiah’s Trucking LLC


 Witnesses:
 Rosemary Rodriguez                        Judge: Eduardo V. Rodriguez
 Catherine Stone Curtis, Interim Trustee   Courtroom Deputy: Ana Castro
 Skylar Walker, Bond & Bond Auctioneers    Hearing Date: Thursday, February 25, 2021
 Any witness called by any other party     Hearing Time: 2:30 p.m.
 Rebuttal Witnesses if needed              Party’s Name: The Petitioning Creditors
                                           are: Sonia Tellez, Carlos Tellez and
                                           Rosemary Rodriguez, Individually and as
                                           next friend of I. Tellez, a minor
                                           Attorney’s Name: Shelby A. Jordan
                                           Attorney’s Phone: (361) 884-5678
                                           Nature of Proceeding:
                                           #26 – Emergency Motion to Compel
                                           Alleged Debtor to Turn Over Property of
                                           the Estate
                                           #32 – Motion of Josiah’s Trucking LLC to
                                           Dismiss Involuntary Petition Pursuant to
                                           11 U.S.C. § 303
                                           #48 – Amended Motion of Josiah’s
                                           Trucking LLC to Dismiss Involuntary
                                           Petition Pursuant to 11 U.S.C. § 303
                                           #39 – Emergency Motion of Josiah’s
                                           Trucking LLC to Convert Chapter 11,
                                           Which is Filed in the Alternative Subject to
                                           and Without Waiving Josiah’s Trucking
                                           LLC’s Motion to Dismiss




                                                                            PC_000001
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                                             EXHIBITS

Ex. #              Description                 Offered     Objection     Admitted/   Disposition
                                                                           Not
                                                                         Admitted
   1. Federal Express Receipts to             2/2/21 by                  Admitted
      Interested Parties and potential         Shelby                    at 2/2/21
      Debtor with copy of Involuntary          Jordan                     hearing
      Petition and Motion
   2. 1/26/21 Emails to Interested Parties    2/2/21 by                  Admitted
      with Involuntary Petition and            Shelby                    at 2/2/21
      Motion                                   Jordan                     hearing
   3. 1/27/21 Email to Settling Parties       2/2/21 by                  Admitted
      and Brooklyn Specialty regarding         Shelby                    at 2/2/21
      Hearing Notice for 2/2/21                Jordan                     hearing
   4. 1/4/21 Plaintiffs’ Original Petition    2/2/21 by                   Judicial
      for Petitioning Creditors                Shelby                      Notice
                                               Jordan                    Admissio
                                                                            n at
                                                                           2/2/21
                                                                          hearing
   5. 1/7/21 Letter from Brooklyn             2/2/21 by   2/2/21 by      Admitted
      Specialty Insurance Co re: Notice        Shelby     Matthew        at 2/2/21
      of Intent to Repair Vehicle and          Jordan      Okin &         hearing
      Offer to Inspect Vehicle                          Jason Powers
   6. 12/29/20 Cardenas spoliation letter     2/2/21 by   2/2/21 by  Admitted
      to Brooklyn Specialty and Josiah’s       Shelby     Matthew     at 2/2/21
                                               Jordan      Okin &      hearing
                                                        Jason Powers
   7. 1/12/21 Brooklyn Specialty email        2/2/21 by   2/2/21 by  Admitted
      to Cardenas advising that policy         Shelby     Matthew     at 2/2/21
      limits have been exhausted               Jordan      Okin &    hearing as
                                                        Jason Powers to policy
                                                                        limits
                                                                        being
                                                                     exhausted
   8. Declaration of Counsel for the          2/2/21 by   2/2/21 by                    2/2/21
      Petitioning Creditors                    Shelby     Matthew                      Shelby
                                               Jordan      Okin &                      Jordan
                                                        Jason Powers                  withdrew
                                                                                        offer
   9. Declaration of Petitioning Creditor     2/2/21 by     2/2/21 by                  2/2/21
      Rosemary Rodriguez, Individually         Shelby       Matthew                    Shelby
      and as Next Fried of I. Tellez, a        Jordan        Okin &                    Jordan
      minor                                               Jason Powers                withdrew
                                                                                        offer




                                                                                     PC_000002
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Ex. #             Description                Offered     Objection    Admitted/   Disposition
                                                                        Not
                                                                      Admitted
   10. Police Report of 12/19/2020
       accident
   11. Order for the Appointment of an
       Interim Trustee [Docket #15]
   12. First Written Demand, Pulman,
       Cappuccio & Pullen, LLP to
       Josiah’s Trucking, LLC dated
       2/5/21
   13. Receipts for Delivery of First
       Written Demand
   14. Second Written Demand, Pulman,
       Cappuccio & Pullen, LLP to
       Josiah’s Trucking, LLC dated
       2/9/21
   15. Receipts for Delivery of Second
       Written Demand
   16. Trustee Certificate of Service of
       Order Setting Hearing [Docket #28]
   17. Judicial notice of all filings
   18. Rebuttal exhibits as need by
       Petitioning Creditors

                                            Respectfully Submitted:

                                            /s/ Shelby A. Jordan
                                            SHELBY A. JORDAN
                                            State Bar No. 11016700
                                            S.D. No. 2195
                                            ANTONIO ORTIZ
                                            State Bar No. 24074839
                                            S.D. No. 1127322
                                            Jordan, Holzer & Ortiz, P.C.
                                            500 North Shoreline Blvd., Suite 900
                                            Corpus Christi, TX 78401
                                            Telephone: (361) 884-5678
                                            Facsimile: (361) 888-5555
                                            Email: sjordan@jhwclaw.com
                                                    aortiz@jhwclaw.com
                                            COUNSEL FOR PETITIONING CREDITORS




                                                                                  PC_000003
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                                   CERTIFICATE OF SERVICE

       I certify that, on February 23, 2021, a true and correct copy of the foregoing Witness and
Exhibit List and the associated exhibits was served on all parties who receive service in the
above-captioned proceeding via the Electronic Case Filing System for the United States
Bankruptcy Court for the Southern District of Texas as listed below.

Elizabeth M. Guffy (Via ECF)
Simon R. Mayer
Locke Lord LLP
600 Travis Street, Suite 2800
Houston, Texas 77002
Email: Eguffy@lockelord.com
        Simon.Mayer@lockelord.com
Attorney for Catherine Stone Curtis, Interim Trustee

Catherine Stone Curtis (Via ECF)
Pulman, Cappuccio & Pullen, LLP
P.O. Box 720788
McAllen, Texas 78504
Email: ccurtis@pulmanlaw.com
Chapter 7 Trustee

Antonio Villeda (Via ECF)
Mark Talbot
Villeda Law Group
6316 North 10th Street, Bldg. B
McAllen, TX 78504
Telephone: (956) 631-9100
Facsimile: (956) 631-9146
Email: avilleda@mybusinesslawyer.com
        mtalbot@mybusinesslawyer.com
Attorney for Josiah’s Trucking LLC

Jason A. Powers (Via ECF)
Lewis Bisbois Bisgaard & Smith, LLP
24 Greenway Plaza Drive, Suite 1400
Houston, TX 77046
Telephone: (713) 659-6767
Facsimile: (713) 759-6830
Email: Jason.powers@lewisbrisbois.com
Attorney for Brooklyn Specialty Insurance Company RRG, Inc.

Alicia L. Barcomb (Via ECF)
United States Department of Justice
Office of the United States Trustee
515 Rusk Street, Suite 3516
Houston, Texas 77002
Email: Alicia.mccullar@usdoj.gov
US Trustee                                             /s/ Shelby A. Jordan
                                                       Shelby A. Jordan


                                                                                     PC_000004
1/27/2021              Case 21-70009 Document 49 FiledDetailed
                                                       in TXSB        on 02/23/21 Page 5 of 58
                                                               Tracking




                                         TRACKING ID




                                                                   772735406457

                                                                  ADD NICKNAME




                                         Delivered
                            Wednesday, January 27, 2021 at 9:01 am


                                                                    DELIVER ED
                                                              Signature not required
                                                                GET STATUS UPDATES

                                                           OBTAIN PROOF OF DELIVERY


                                   FR O M                                                                             TO
                           Chrystal Madden                                                        David Vasquez, Reg Agent
                          500 N. Shoreline Blvd.                                                    Josiahs Trucking LLC
                               Suite 900                                                                  7612 Petirrojo Street
                       CORPUS CHRISTI, TX US 78401                                                      EDINBURG, TX US 78542
                             361-884-5678                                                                    956-685-3067




  Shipment Facts

  TR AC KIN G N U MB ER                             SERVIC E                                                WEIG HT
  772735406457                                      FedEx First Overnight                                   0.5 lbs / 0.23 kgs


  DELIVERY AT TEMP TS                               DELIVER ED TO                                           TOTAL P IEC ES
  1                                                 Residence                                               1


  TOTAL SHIP MENT WEIG HT                           TER MS                                                  SHIP P ER R EFER EN C E
  0.5 lbs / 0.23 kgs                                Shipper                                                 2051.001


  PAC KAG IN G                                      SP EC I AL H AN DLIN G SECTIO N                         SHIP DATE
  FedEx Envelope                                    Deliver Weekday, Residential Delivery                   1/26/21


  STAN DAR D TR AN SIT                              ACTUAL DELIVERY
  1/27/21 by 9:30 am                                1/27/21 at 9:01 am
                                                                                                 PC Exhibit
                                                                                                                           exhibitsticker.com




  Travel History                                                                                         1
                                                                                            Josiah's Trucking LLC; 21-70009



                                                                                                                                                PC_000005
https://www.fedex.com/fedextrack/?trknbr=772735406457&trkqual=2459241000~772735406457~FX                                                                    1/2
1/27/2021              Case 21-70009 Document 49 FiledDetailed
                                                       in TXSB        on 02/23/21 Page 6 of 58
                                                               Tracking

     TIME ZO N E
     Local Scan Time


    Wednesday, January 27, 2021

    9:01 AM              EDINBURG, TX                  Delivered
                                                       Package delivered to recipient address - release authorized

    7:29 AM              HARLINGEN, TX                 At local FedEx facility

    7:29 AM              HARLINGEN, TX                 On FedEx vehicle for delivery

    7:09 AM              HARLINGEN, TX                 At destination sort facility

    4:54 AM              MEMPHIS, TN                   Departed FedEx location

    12:17 AM             MEMPHIS, TN                   Arrived at FedEx location

    Tuesday, January 26, 2021

    6:47 PM              CORPUS CHRISTI, TX            Left FedEx origin facility

    5:17 PM              CORPUS CHRISTI, TX            Picked up

    2:28 PM                                            Shipment information sent to FedEx




                                                                                                                     PC_000006
https://www.fedex.com/fedextrack/?trknbr=772735406457&trkqual=2459241000~772735406457~FX                                         2/2
1/27/2021              Case 21-70009 Document 49 FiledDetailed
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                                                               Tracking




                                         TRACKING ID




                                                                   772735536794

                                                                  ADD NICKNAME




                                         Delivered
                            Wednesday, January 27, 2021 at 8:20 am


                                                                    DELIVER ED
                                                              Signature not required
                                                                GET STATUS UPDATES

                                                           OBTAIN PROOF OF DELIVERY


                                   FR O M                                                             TO
                           Chrystal Madden                                                        Ana Gomez
                          500 N. Shoreline Blvd.                                            3707 E. US Bus. Hwy. 83
                               Suite 900                                                            Lot 215
                       CORPUS CHRISTI, TX US 78401                                           Donna, TX US 78537
                             361-884-5678                                                       361-884-5678




  Shipment Facts

  TR AC KIN G N U MB ER                             SERVIC E                                  WEIG HT
  772735536794                                      FedEx First Overnight                     0.5 lbs / 0.23 kgs


  DELIVERY AT TEMP TS                               DELIVER ED TO                             TOTAL P IEC ES
  1                                                 Residence                                 1


  TOTAL SHIP MENT WEIG HT                           TER MS                                    SHIP P ER R EFER EN C E
  0.5 lbs / 0.23 kgs                                Shipper                                   2051.001


  PAC KAG IN G                                      SP EC I AL H AN DLIN G SECTIO N           SHIP DATE
  FedEx Envelope                                    Deliver Weekday, Residential Delivery     1/26/21


  STAN DAR D TR AN SIT                              ACTUAL DELIVERY
  1/27/21 by 9:00 am                                1/27/21 at 8:20 am


  Travel History


                                                                                                                      PC_000007
https://www.fedex.com/fedextrack/?trknbr=772735536794&trkqual=2459241000~772735536794~FX                                          1/2
1/27/2021              Case 21-70009 Document 49 FiledDetailed
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                                                               Tracking

     TIME ZO N E
     Local Scan Time


    Wednesday, January 27, 2021

    8:20 AM              Donna, TX                     Delivered
                                                       Package delivered to recipient address - release authorized

    7:30 AM              HARLINGEN, TX                 On FedEx vehicle for delivery

    7:30 AM              HARLINGEN, TX                 At local FedEx facility

    7:09 AM              HARLINGEN, TX                 At destination sort facility

    4:54 AM              MEMPHIS, TN                   Departed FedEx location

    12:17 AM             MEMPHIS, TN                   Arrived at FedEx location

    Tuesday, January 26, 2021

    6:47 PM              CORPUS CHRISTI, TX            Left FedEx origin facility

    5:17 PM              CORPUS CHRISTI, TX            Picked up

    2:34 PM                                            Shipment information sent to FedEx




                                                                                                                     PC_000008
https://www.fedex.com/fedextrack/?trknbr=772735536794&trkqual=2459241000~772735536794~FX                                         2/2
1/27/2021              Case 21-70009 Document 49 FiledDetailed
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                                                               Tracking




                                         TRACKING ID




                                                                   772735448041

                                                                  ADD NICKNAME




                                         Delivered
                            Wednesday, January 27, 2021 at 8:18 am


                                                                      DELIVER ED
                                                           Signed for by: M.AMBER




                                                               GET STATUS UPDATES

                                                          OBTAIN PROOF OF DELIVERY


                                   FR O M                                                                TO
                           Chrystal Madden                                            Brooklyn Specialty Insurance Co RRG
                          500 N. Shoreline Blvd.                                      Brooklyn Specialty Insurance Co RRG
                               Suite 900                                                        5630 University Pkwy
                       CORPUS CHRISTI, TX US 78401                                           Winston-Salem, NC US 27105
                             361-884-5678                                                           503-465-3019




  Shipment Facts

  TR AC KIN G N U MB ER                             SERVIC E                                     WEIG HT
  772735448041                                      FedEx First Overnight                        0.5 lbs / 0.23 kgs


  DELIVERY AT TEMP TS                               DELIVER ED TO                                TOTAL P IEC ES
  1                                                 Mailroom                                     1


  TOTAL SHIP MENT WEIG HT                           TER MS                                       SHIP P ER R EFER EN C E
  0.5 lbs / 0.23 kgs                                Shipper                                      2051.001


  PAC KAG IN G                                      SP EC I AL H AN DLIN G SECTIO N              SHIP DATE
  FedEx Envelope                                    Deliver Weekday                              1/26/21


  STAN DAR D TR AN SIT                              ACTUAL DELIVERY
  1/27/21 by 8:30 am                                1/27/21 at 8:18 am
                                                                                                                      PC_000009
https://www.fedex.com/fedextrack/?trknbr=772735448041&trkqual=2459241000~772735448041~FX                                          1/2
1/27/2021              Case 21-70009 Document 49 Filed Detailed
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                                                                Tracking


  Travel History

     TIME ZO N E
     Local Scan Time


    Wednesday, January 27, 2021

    8:18 AM              Winston-Salem, NC             Delivered

    7:04 AM              WINSTON SALEM, NC             On FedEx vehicle for delivery

    7:02 AM              WINSTON SALEM, NC             At local FedEx facility

    6:41 AM              GREENSBORO, NC                At destination sort facility

    4:37 AM              MEMPHIS, TN                   Departed FedEx location

    12:17 AM             MEMPHIS, TN                   Arrived at FedEx location

    Tuesday, January 26, 2021

    6:47 PM              CORPUS CHRISTI, TX            Left FedEx origin facility

    5:17 PM              CORPUS CHRISTI, TX            Picked up

    2:30 PM                                            Shipment information sent to FedEx




                                                                                            PC_000010
https://www.fedex.com/fedextrack/?trknbr=772735448041&trkqual=2459241000~772735448041~FX                2/2
1/27/2021              Case 21-70009 Document 49 Filed Detailed
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                                                                Tracking




                                         TRACKING ID




                                                                   772735556590

                                                                  ADD NICKNAME




                                         Delivered
                            Wednesday, January 27, 2021 at 8:45 am


                                                                    DELIVER ED
                                                              Signature not required
                                                                GET STATUS UPDATES

                                                           OBTAIN PROOF OF DELIVERY


                                   FR O M                                                             TO
                           Chrystal Madden                                                  Reyes Adrian Ortiz
                           500 N. Shoreline Blvd.                                            1000 Darlene Avenue
                                Suite 900                                                   WESLACO, TX US 78599
                        CORPUS CHRISTI, TX US 78401                                             361-884-5678
                              361-884-5678




  Shipment Facts

  TR AC KIN G N U MB ER                             SERVIC E                                  WEIG HT
  772735556590                                      FedEx First Overnight                     0.5 lbs / 0.23 kgs


  DELIVERY AT TEMP TS                               DELIVER ED TO                             TOTAL P IEC ES
  1                                                 Residence                                 1


  TOTAL SHIP MENT WEIG HT                           TER MS                                    SHIP P ER R EFER EN C E
  0.5 lbs / 0.23 kgs                                Shipper                                   2051.001


  PAC KAG IN G                                      SP EC I AL H AN DLIN G SECTIO N           SHIP DATE
  FedEx Envelope                                    Deliver Weekday, Residential Delivery     1/26/21


  STAN DAR D TR AN SIT                              ACTUAL DELIVERY
  1/27/21 by 9:00 am                                1/27/21 at 8:45 am


  Travel History


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https://www.fedex.com/fedextrack/?trknbr=772735556590&trkqual=2459241000~772735556590~FX                                       1/2
1/27/2021              Case 21-70009 Document 49 Filed Detailed
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                                                                Tracking

     TIME ZO N E
     Local Scan Time


    Wednesday, January 27, 2021

    8:45 AM              WESLACO, TX                   Delivered
                                                       Package delivered to recipient address - release authorized

    7:30 AM              HARLINGEN, TX                 On FedEx vehicle for delivery

    7:30 AM              HARLINGEN, TX                 At local FedEx facility

    7:09 AM              HARLINGEN, TX                 At destination sort facility

    4:54 AM              MEMPHIS, TN                   Departed FedEx location

    12:17 AM             MEMPHIS, TN                   Arrived at FedEx location

    Tuesday, January 26, 2021

    6:47 PM              CORPUS CHRISTI, TX            Left FedEx origin facility

    5:17 PM              CORPUS CHRISTI, TX            Picked up

    2:35 PM                                            Shipment information sent to FedEx




                                                                                                                     PC_000012
https://www.fedex.com/fedextrack/?trknbr=772735556590&trkqual=2459241000~772735556590~FX                                         2/2
          Case 21-70009 Document 49 Filed in TXSB on 02/23/21 Page 13 of 58
                                             Wednesday, January 27, 2021 at 12:46:57 Central Standard Time


Subject:    Josiah's Trucking LLC; 21-70009
Date:       Tuesday, January 26, 2021 at 3:40:49 PM Central Standard Time
From:       Chrystal Madden
To:         oﬃce@381help.com
CC:         Shelby Jordan, Luis Cardenas, Kay Walker, ccurOs@pulmanlaw.com
AFachments: #1 Involuntary PeOOon.pdf, #3 Emerg Mt for O Apt Trustee.pdf, image001.png, image002.png,
            NoOce Ltr 1-26-21 SeYling ParOes.pdf

Good Afternoon Mr. Solis,

Attached please find courtesy copies of the Involuntary Chapter 11 Petition and Emergency Motion for
an Order Appointing an Interim Trustee. If you have an email address for Mr. Sorrells please forward
same to me.

Thank you for your kind attention to this matter.

Chrystal Madden
Legal Assistant to
Shelby A. Jordan and Antonio Ortiz




500 North Shoreline Blvd., Suite 900
Corpus Christi, TX 78401
Phone: (361) 884-5678
Direct Line: (361) 653-6618
Fax: (361) 888-5555
E-mail: cmadden@jhwclaw.com




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mistake, please notify the sender immediately by electronic mail and destroy all forms of this
communication (electronic or paper). Thank you.

                                                             PC Exhibit
                                                                                      exhibitsticker.com




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                                                        Josiah's Trucking LLC; 21-70009




                                                                                                           PC_000013Page 1 of 1
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                                             Wednesday, January 27, 2021 at 12:47:13 Central Standard Time


Subject:    FW: Josiah's Trucking LLC; 21-70009
Date:       Tuesday, January 26, 2021 at 3:41:50 PM Central Standard Time
From:       Chrystal Madden
To:         claims@BrooklynSpecialty.com
AEachments: #1 Involuntary PeQQon.pdf, #3 Emerg Mt for O Apt Trustee.pdf, image001.png, image002.png

Good Afternoon Madam or Sir:

Attached please find courtesy copies of the Involuntary Chapter 11 Petition and Emergency Motion for
an Order Appointing an Interim Trustee.

Thank you for your kind attention to this matter.

Chrystal Madden
Legal Assistant to
Shelby A. Jordan and Antonio Ortiz




500 North Shoreline Blvd., Suite 900
Corpus Christi, TX 78401
Phone: (361) 884-5678
Direct Line: (361) 653-6618
Fax: (361) 888-5555
E-mail: cmadden@jhwclaw.com




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                                                                                         PC_000014Page 1 of 1
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                                             Wednesday, January 27, 2021 at 12:47:45 Central Standard Time


Subject:    21-70009; Josiah's Trucking, LLC - Order Se>ng Hearing for 2/2/21
Date:       Wednesday, January 27, 2021 at 10:31:20 AM Central Standard Time
From:       Chrystal Madden
To:         daniel@381help.com, rogelio@381help.com, claims@brooklynspecialty.com
CC:         Shelby Jordan, Luis Cardenas, Kay Walker, ccurQs@pulmanlaw.com
Priority:   High
AEachments: 1.27.21 leSer regarding hearing date.pdf, image001.png, image002.png, Josiah'sTrucking
            #5.pdf

Good Morning Madam and Sir:

Attached please find a letter enclosing a copy of an Order Setting Hearing for Tuesday, February 2,
2021 at 9:30 a.m. All instructions are in the attached Order for attendance at the hearing.

Thank you for your kind attention to this matter.

Chrystal Madden
Legal Assistant to
Shelby A. Jordan and Antonio Ortiz




500 North Shoreline Blvd., Suite 900
Corpus Christi, TX 78401
Phone: (361) 884-5678
Direct Line: (361) 653-6618
Fax: (361) 888-5555
E-mail: cmadden@jhwclaw.com
                                                             PC Exhibit
                                                                                      exhibitsticker.com




                                                                     3
                                                        Josiah's Trucking LLC; 21-70009



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                                                                                                           PC_000015Page 1 of 1
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       Case 21-70009 Document 49 Filed in TXSB on 02/23/21 Page 16  of 58
                                                                1/4/2021 5:20 PM
                                                                                                            Hidalgo County District Clerks
                                                                                                            Reviewed By: Alexis Bonilla


                           CAUSE NO. ________________
                                       C-0029-21-D

SONIA TELLEZ, CARLOS TELLEZ                       §            IN THE DISTRICT COURT
AND ROSE MARY RODRIGUEZ,                          §
INDIVIDUALLY AND AS NEXT                          §
FRIEND OF I. TELLEZ, A MINOR                      §
                                                  §
VS.                                               §
                                                  §            ______ JUDICIAL DISTRICT
JOSIAH’S TRUCKING, LLC,                           §
DAVID VASQUEZ, AND JUAN MANUEL                    §
CARRERA                                           §            HIDALGO COUNTY, TEXAS

       PLAINTIFFS’ ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

       Now come SONIA TELLEZ, CARLOS TELLEZ AND ROSE MARY RODRIGUEZ,

INDIVIDUALLY AND AS NEXT FRIEND OF I. TELLEZ, A MINOR (hereafter collectively

referred to as “PLAINTIFFS”) complaining of JOSIAH’S TRUCKING, LLC, DAVID

VASQUEZ AND JUAN MANUEL CARRERA (hereafter “DEFENDANTS”) and in support

thereof would respectfully show the Court as follows:

                                                 I.

                               DISCOVERY CONTROL PLAN

       Discovery is intended to be conducted under Level 3 of Rule 190 of the Texas Rules of

Civil Procedure.

                                                  II.

                                             PARTIES

       1.      Plaintiff Sonia Tellez is a citizen and resident of the State of Texas. Plaintiff Sonia

Tellez is the surviving mother of decedent, Carlos A. Tellez, Jr.

       2.      Plaintiff Carlos Tellez is a citizen and resident of the State of Texas. Plaintiff is the

father of decedent, Carlos Tellez, Jr.                                PC Exhibit
                                                                                               exhibitsticker.com




                                              Page 1 of 5                     4
                                                                 Josiah's Trucking LLC; 21-70009
                                                                                                                    PC_000016
                                                                Electronically Filed
       Case 21-70009 Document 49 Filed in TXSB on 02/23/21 Page 17  of 58
                                                                1/4/2021 5:20 PM
                                                                                   Hidalgo County District Clerks
                                                                                   Reviewed By: Alexis Bonilla
                                           C-0029-21-D

       3.      Plaintiff Rose Mary Rodriguez is a citizen and resident of the State of Texas.

Plaintiff is the spouse of decedent, Carlos Tellez, Jr. I. Tellez is the minor daughter of decedent,

Carlos Tellez, Jr.

       4.      Defendant Josiah’s Trucking, LLC is a domestic limited liability company doing

business in Texas and has its principal place of business in Hidalgo County, Texas. Josiah’s

Trucking LLC can be served through its registered agent David Vasquez at 7612 Petirrojo St.,

Edinburg, Texas 78542.

       5.      Defendant David Vasquez is an individual who may be served with process at 7612

Petirrojo St., Edinburg, Texas 78542

       6.      Defendant Juan Manuel Carrera is an individual who may be served with process

and resides at 7513 Lilia St, Pharr, Texas 78577.

                                                III.

                                             VENUE

       7.      Venue is proper in Hidalgo County, pursuant to §15.002(a)(1) of the Texas Civil

Practice and Remedies Code in that all or a substantial part of the events or omissions giving rise

to the claim occurred in Hidalgo County.

                                                IV.

                                  FACTUAL ALLEGATIONS

       8.      On December 19, 2020, Juan Manuel Carrerra (“Carrera”) was driving a tractor-

trailer combination, owned and controlled by JOSIAH’S TRUCKING LLC, and DAVID

VASQUEZ, northbound on FM 493 in Edinburg, Texas. While entering a curve in the roadway,

Carrera lost control of the tractor-trailer sending the trailer portion of the vehicle into the

southbound lane. At that moment, Carlos Tellez, Jr., was travelling in a vehicle in the southbound




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lane on FM 493. The trailer portion of the tractor-trailer invaded the southbound lane striking

Carlos Tellez, Jr., causing fatal injuries that led to his death.

                                                   V.

                                       CAUSES OF ACTION

        9.      Josiah’s Trucking, David Vasquez and Juan Manuel Carrera were negligent by

failing to exercise ordinary care in the operation of the tractor-trailer combination on the above-

described occasion. Such negligence includes, but is not limited to: (a) failure to drive at a safe

speed; (b) failure to drive in a safe manner; and (c) failure to safely negotiate a curved roadway

given the conditions, along with other acts. Such negligence was a proximate cause of the

occurrence in question, the death of Carlos Tellez, Jr., and all of Plaintiffs’ damages resulting

therefrom.

        10.     At all relevant times, Defendants are vicariously liable for the torts an employee

committed in the course and scope of his employment under the doctrine of respondeat superior.

Juan Manuel Carrera was operating the tractor-trailer in the course and scope of his employment

with Josiah’s Trucking, LLC and/or David Vasquez at the time of the incident. As such, Josiah’s

Trucking, LLC and/or David Vasquez are liable for Juan Manuel Carrera’s negligence.

                                                  VI.

                                             DAMAGES

        11.     Plaintiff Sonia Tellez individually, is entitled to recover actual or compensatory

damages from Defendants which resulted to her from the death of her son Carlos Tellez, Jr.,

including pecuniary loss, loss of companionship and society, mental anguish, and all other actual

damages to which parents are entitled to under the Wrongful Death Statute. Such damages exceed

the jurisdictional minimum of this court.




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       12.     Plaintiff Carlos Tellez is entitled to recover actual or compensatory damages from

Defendants which resulted to said Plaintiff from the death of his son, Carlos Tellez, Jr., including

pecuniary loss, loss of companionship and society, mental anguish, and all other actual damages

to which parents are entitled under the Wrongful Death Statute. Such damages exceed the

jurisdictional minimum of this court.

       13.     Plaintiff Rose Mary Rodriguez, Individually and As Next Friend of I. Tellez, is

entitled to recover actual or compensatory damages from Defendants which resulted to said

Plaintiff from the death of her husband and father of I. Tellez, Carlos Tellez, Jr., including

pecuniary loss, loss of companionship and society, mental anguish, loss of inheritance, and all

other actual damages to which spouses and children are entitled under the Wrongful Death Statute.

Such damages exceed the jurisdictional minimum of this court.

                                                VII.

                                 REQUEST FOR JURY TRIAL

       14.     Contemporaneous with the filing herewith, Plaintiffs have paid a jury fee and

make demand that the case be brought before the jury for trial on all matters.

                                                VIII.

                                REQUEST FOR DISCLOSURE

       15.     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, within fifty days

after service of this Request, Plaintiff requests that Defendants disclose the information or

materials described in Rule 194.2 (a)-(l).




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                                                IX.

                          STATEMENT PURSUANT TO T.R.C.P. 47

       16.     Pursuant to T.R.C.P. 47, Plaintiff is seeking monetary relief over $1,000,000.

                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request that the

Defendants be cited to appear and answer herein, and that upon a final hearing of the case,

judgment be entered for the Plaintiffs against Defendants for actual and compensatory damages as

set out above, for pre-judgment and post-judgment interest as allowed by law, for all costs of court

and such other and further relief both general and special, at law or in equity, to which Plaintiffs

may be justly entitled.

                                              Respectfully submitted,

                                              ESCOBEDO & CARDENAS, LLP
                                              1602 Dulcinea
                                              Edinburg, Texas 78539
                                              Telephone:    (956) 630-2222
                                              Telecopier: (956) 630-2223
                                              Email: joe@escobedocardenas.com
                                              Email: luis@escobedocardenas.com

                                              BY:     /s/ Luis Cardenas
                                                      Joe Escobedo
                                                      State Bar No.: 06665850
                                                      Luis Cardenas
                                                      State Bar No.: 24001837

                                                      ATTORNEYS FOR PLAINTIFFS




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Brooklyn Specialty Insurance Co.
Risk Retention Group, Inc.
5630 University Parkway
Winston-Salem, NC 27105
Tele: (877) 870-9923
Email: info@brooklynspecialty.com
        claims@brooklynspecialty.com


January 7, 2021

VIA E-MAIL AND CERTIFIED MAIL

Luis M. Cardenas
Escobedo & Cardenas LLP
1602 Dulcinea
Edinburg, TX 78539
E-Mail: luis@escobedocardenas.com
        amparo@escobedocardenas.com

       Re:     Your Client                         :           The Family of Carlos M. Tellez
               Brooklyn’s Insured                  :           Josiah’s Trucking LLC
               Brooklyn’s Policy No.               :           ATP-4-062020 (6/19/20 to 6/19/21)
               Date of Loss                        :           12/19/2020
               Location of Loss                    :           Hidalgo County, TX

                        NOTICE OF INTENT TO REPAIR VEHICLE
                   AND OFFER TO INSPECT VEHICLE PRIOR TO REPAIR

Dear Mr. Cardenas:

          Brooklyn Specialty Insurance Co. Risk Retention Group, Inc. is the commercial auto
liability insurance carrier for Josiah’s Trucking LLC and its driver Juan Manuel Carrera. The 2015
Kenworth (VIN 1XKYDP9X1FJ448769) Mr. Carrera was reportedly operating at the time of the
above loss is currently awaiting repairs at AT Wrecker, 93 E. Business 83, Alamo TX 78516,
phone number: 956-787-3300.

       If you would like to inspect the tractor or undertake other analysis of the tractor or
its component parts prior to repair, please advise immediately and we will assist in making
the arrangements.

                                                                Sincerely,



                                                                Rick Shaw
                                                                President
                                                                Brooklyn Specialty Insurance Co. Risk
                                                                Retention Group, Inc.


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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

In re                                                         §       Case No. 21-70009
                                                     §
JOSIAH’S TRUCKING LLC                                         §       (Involuntary Proceeding)
                                                              §
        Alleged Debtor.                                       §

                     DECLARATION1 OF PETITIONING CREDITOR
                 ROSEMARY RODRIGUEZ, INDIVIDUALLY AND AS NEXT
                          FRIEND OF I. TELLEZ, A MINOR.

        I declare under penalty of perjury that the following is true and correct and within my

personal knowledge.        My name is ROSEMARY RODRIGUEZ and I am the wife of Carlos

Tellez and the mother and Next Friend of I. Tellez, a Minor, and am one of the three (3)

Petitioning Creditors, including Sona Tellez, Carlos Tellez.

        Petitioning Creditors are all among a class of beneficiaries and/or representatives of

victims, which include wrongful-death claims, arising from the negligent accident involving the

Debtor’s tractor-trailer. This accident occurred on December 19, 2020, Juan Manuel Carrera was

driving a tractor-trailer combination, owned and controlled by Josiah’s Trucking LLC and David

Vasquez, northbound on FM 493 in Edinburg, Texas. When entering a curve in the roadway, Mr.

Carrera lost control of the tractor-trailer sending the trailer portion of the vehicle into the

southbound lane.         At that moment, Carlos Tellez, Jr., was travelling in a vehicle in the

southbound lane on FM 493. The trailer portion of the tractor-trailer invaded the southbound lane

striking Carlos Tellez, Jr., causing fatal injuries that led to his death. Anna Isabel Ortiz also

sustained fatal injuries as a result of the Accident.

1        This Declaration is made pursuant to 28 U.S.C.§ 1746 and 32 C.F.R. 516.26 and as a certification pursuant
to Rules 803(6) and certification pursuant to 902(11)Federal Rules of Evidence
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       The Petitioning Creditors, as beneficiaries and/or representatives of Carlos Tellez in the

automobile struck by the Debtor’s tractor-trailer, all suffered their damages and injuries from the

same event, same facts, and same occurrence, and have no less than the same, or more, evidence

of liability for their injuries and evidence of their damages as the driver of the vehicle.

       The voluntary petition filed by me and the two other Petitioning Creditors discloses $8

million total in our personal injury claims. I understand that there are little assets of the Debtor’s

company and no other insurance, other than the proceeds of Debtor’s Insurance policy issued by

Brooklyn Specialty Insurance Co. RRG, Inc.

       Further affiant sayeth not.


_______________________________

                                                       Rosemary Rodriguez




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                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was served to those
parties listed below and/or those parties registered with the Court’s electronic noticing system on
February 1, 2021.

Josiah’s Trucking LLC (Via U.S. mail)
c/o David Vasquez, Registered Agent
7612 Petirrojo Street
Edinburg, TX 78542

Brooklyn Specialty Insurance (via email: claims@brooklynspecialty.com)
Company RRG, Inc.
5630 University Pkwy
Winston-Salem, NC 27105

Rogelio Solis (Via email: rogelio@381help.com)
Daniel Sorrells (via email: daniel@381help.com)
Law Office of Rogelio Solis, PLLC
PO Box 2307
Edinburg, TX 78540
Attorney for Ana Gomez and Reyes Adrian Ortiz obo Anna Isabel Ortiz, deceased




Luis M. Cardenas (via email: luis@escobedocardenas.com)
Escobedo & Cardenas, L.L.P.
1602 Dulcinea
Edinburg, Texas 78539
Attorney for Sonia Tellez,
Carlos Tellez and Rose Mary
Rodriguez, Individually and
As Next Friend of I. Tellez, a minor


                                                            /s/ Shelby A. Jordan
                                                            Shelby A. Jordan




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION                                                                                   ENTERED
                                                                                                                                      02/02/2021
In re                                                         §        Case No. 21-70009
                                                              §
JOSIAH’S TRUCKING LLC                                         §        (Involuntary Proceeding)
                                                              §
                 Alleged Debtor.                              §

               ORDER FOR THE APPOINTMENT OF AN INTERIM TRUSTEE
                               Resolving ECF No. 3

        This matter came on for hearing on the 2nd day of February, 2021, upon Emergency

Motion for an Order Appointing an Interim Trustee under 11 U.S.C. § 701 and Granting

Emergency Relief (the “Motion”) filed in this involuntary case by the Petitioning Creditors1,

requesting the appointment of an interim trustee pursuant to 11 U.S.C. § 303(g) and Rule 2001 of

the Federal Rules of Bankruptcy Procedure. The Court having considered the Motion and any

responses thereto, finds that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334; that notice of the Motion and the opportunity for hearing on the Motion was appropriate

under the particular circumstances; it is

        ORDERED that the Motion is GRANTED, the appointment being necessary to protect

and preserve property of the Alleged Debtor’s estate and to prevent concealment, waste, loss or

conversion, if any, of the assets of the estate by the Alleged Debtor. Additionally, there is an

immediate need for an investigation of known and potential assets; it is further

        ORDERED that the United States Trustee shall appoint an interim trustee under 11 U.S.C.

§ 701 to preserve property of the estate and to prevent loss to the estate and shall consider the

election of the Petitioning Creditors and all parties-in-interest to name an Interim Trustee,

pending a full and complete election or decision by creditors, if any should be involved; and it is

further
1
        The Petitioning Creditors filing the original Involuntary Petition are: Sonia Tellez, Carlos Tellez and
Rosemary Rodriguez, Individually and as next friend of I. Tellez, a minor.
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       ORDERED that the duties of the interim trustee shall include the following, but not

limited to: (1) take possession of the property of the Alleged Debtor’s estate and to operate

the Alleged Debtor’s business including temporary and preliminary injunctive relief to

preserve the proceeds of the Debtor’s insurance policies in the hands of any third party; (2)

collect and analyze the Alleged Debtor’s financial records to identify all property lost

through fraudulent transfers and/or preferences, i f a n y , and to bring the property back into

the estate for the benefit of creditors; and (3) taking of all other acts necessary to preserve

and protect the property of the estate, including taking possession of property as might be

necessary to prevent any further loss to the estate.

       ORDERED that, pursuant to Rule 2001(b) of the Federal Rules of Bankruptcy Procedure,

the appointment of the interim trustee by the United States Trustee is contingent upon

the furnishing of a bond by the Petitioning Creditors in the amount of $100.00

conditioned to indemnify the Alleged Debtor for costs, attorney’s fees, expenses, and damages

allowable under 11 U.S.C. § 303(i).

       ORDERED that, _______________ is appointed as Trustee.
  February 02, 2021
SIGNED this ___ day of __________, 2021.


                                               ___________________________________
                                               UNITED STATES BANKRUPTCY JUDGE




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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION

In Re:                                         §                            Case No. 21-70009-EVR
JOSIAH'S TRUCKING, LLC                         §                            (Involuntary Proceeding)
       Debtor(s)                               §                                   Chapter 7

                 CERTIFICATE OF SERVICE OF ORDER SETTING HEARING
                               [Relates to Docket No. 26]

       The signature below certifies that a notice has been served by first class U.S. mail or the method
indicated below on February 12, 2021, that a telephonic and video hearing will be held on Emergency
Motion to Compel Alleged Debtor to Turn Over Property of the Estate [Docket No. 26] on February 19,
2021, at 10:30 a.m. by Telephonic and Video Participation:

       Dial-in Telephone number: 1-712-775-8972 Conference Code: 999276.

       Video participation as instructed on Judge Eduardo V. Rodriguez’s web page on the Southern
District of Texas Bankruptcy Court website, United States Bankruptcy Judge Eduardo V. Rodriguez |
Southern District of Texas (uscourts.gov).



Date: February 12, 2021                             Respectfully submitted,



                                                    /S/CATHERINE S. CURTIS
                                                    Catherine Stone Curtis
                                                    Texas Bar No. 24074100
                                                    Federal ID No. 1129434
                                                    Pulman, Cappuccio & Pullen, LLP
                                                    P.O. Box 720788
                                                    McAllen, TX 78504
                                                    Ph: (956) 467-1900
                                                    Fax: (956) 331-2815
                                                    Email: ccurtis@pulmanlaw.com
                                                    CHAPTER 7 TRUSTEE




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U.S. Trustee (VIA CM/ECF Notice only)                  Matthew Okin (and via email:
US Trustee (and via email: AliciaMcCullar@usdoj.gov)   mokin@okinadams.com)
606 N. Carancahua Street Ste 1107                      Okin Adams LLP
Corpus Christi, Texas 78401                            1113 Vine St. Ste. 240
                                                       Houston, Texas 77002
Josiah’s Trucking, LLC                                 Attorney for The Law Office of
c/o David Vasquez, Registered Agent                    Rogelio Solis; Rogelio Solis;
7612 Petirrojo Street                                  Ana Gomez, individually and obo
Edinburg, Texas 78542                                  Anna Isabel Ortiz, deceased
Alleged Debtor
Via US Mail and Via Certified Mail RRR

Shelby Jordan (and via email:
sjordan@jhwclaw.com, aortiz@jhwclaw.com)               Jason A. Powers (and via email:
Antonio Ortiz                                          jason.powers@lewisbrisbois.com)
Jordan, Holzer & Ortiz, P.C.                           Lewis Brisbois Bisgaard & Smith LLP
500 N. Shoreline Blvd., Ste 900                        24 Greenway Plaza Drive, Ste. 1400
Corpus Christi, Texas 78401                            Houston, Texas 77046
Counsel for Petitioning Creditors                      Attorney for Brooklyn Specialty
                                                       Insurance


Luis M. Cardenas (and via email:
luis@escobedocardenas.com )
Escobedo & Cardenas, L.L.P.
1602 Dulcinea
Edinburg, Texas 78539
Attorney for Sonia Tellez, Carlos Tellez and
Rose Mary Rodriguez, Individually and As
Next Friend of I. Tellez, a minor


                                                       /S/CATHERINE STONE CURTIS
                                                       Catherine Stone Curtis




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                      IN THE UNITED STATED BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN                                                       ENTERED
                                                                                                    02/12/2021
IN RE:                                             §
JOSIAH'S TRUCKING, LLC,                            §      CASE NO: 21-70009
       Debtor.                                     §
                                                   §
                                                   §      CHAPTER 7

                                         ORDER
                              SETTING ELECTRONIC HEARING
                                        Regarding ECF No. 26

1.    A hearing on Emergency Motion to Compel Alleged Debtor to Turn Over Property of the Estate
      [Relates to Docket No. 15], ECF No. 26, shall be conducted electronically before the United States
      Bankruptcy Court, Southern District of Texas, McAllen Division on February 19, 2021 at 10:30
      a.m.. (Central Standard Time).

2.    To participate electronically, parties must follow the instructions set forth on Judge Rodriguez’s
      web page located at: https://www.txs.uscourts.gov/content/united-states-bankruptcy-judge-
      eduardo-v-rodriguez. Parties are additionally instructed to:

      a. call in utilizing the dial-in-number for hearings before Judge Rodriguez at 712.775.8972,
         conference room number 999276 and to
      b. log on to GoToMeeting for video appearances and witness testimony, utilizing conference
         code: judgerodriguez.

3.    Use of speaker phones are not permitted. Parties wishing to participate in the hearing
      must either pick up the receiver, or utilize some form of head set such as ear buds or
      headphones. Participants may not have more than one open phone line while
      participating.

4.    Parties must comply with Bankruptcy Local Rule 9013-2 and Judge Rodriguez’s Court
      Procedures Section VII(b) regarding the exchange and submission of electronic exhibits.

5.    Within two business days of receipt of this Order, Movant must serve a copy of this Order
      on all parties entitled to notice of the hearing and file a certificate of service with the Clerk’s
      office.

       SIGNED 02/12/2021



                                                        __________________________________
                                                                  Eduardo Rodriguez
                                                            United States Bankruptcy Judge

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